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                      Exhibit 17
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   B O I E S ,            S C H I L L E R                  &      F L E X N E R               L L P
30 SOUTH PEARL STREET ● 11TH FLOOR ● ALBANY, NY 12207 ● PH: 518.434.0600 ● FX: 518.434.0665




                                             August 8, 2014

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               Re:    In re Cathode Ray Tube (CRT) Antitrust Litigation,
                      Case No. 07-cv-5944-SC (N.D. Cal.)

      Dear Counsel:

               I write in response to your letter of July 21, 2014. Plaintiffs are amenable to your
      proposal that we discuss the issue of the EC Decision in late August, so long as Defendants agree
      that, if necessary, Plaintiffs may move to compel or serve follow up discovery with respect to the
      EC Decision by September 5. Given the fact discovery cut off of September 5, it would be
      inappropriate to wait until late August for Defendants to provide an update, unless such an
      agreement is in place.

               We request that Defendants please let us know by August 12 whether they agree to the
      above.

                                                    Sincerely,

                                                    /s/ Philip J. Iovieno

                                                    Philip J. Iovieno
                                                    Liaison Counsel for the Direct
                                                    Action Plaintiffs

      cc:      Direct Purchaser Plaintiffs’ Counsel
               Indirect Purchaser Plaintiffs’ Counsel
